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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:15CR63
                                               )
              Plaintiff,                       )
                                               )                    ORDER
              vs.                              )
                                               )
CHRISTOPHER BASKIN,                            )
                                               )
              Defendant.                       )


       This matter is before the Court on the government’s Motion To Dismiss without

Prejudice the Indictment (Filing No. 67). Under Federal Rule of Criminal Procedure 48(a),

leave of court is granted for the dismissal of the Indictment without prejudice against the

Defendant, Christopher Baskin.

       IT IS ORDERED that the government’s Motion To Dismiss without Prejudice the

Indictment (Filing No. 67) is granted, and this action is dismissed, without prejudice against

the Defendant, Christopher Baskin.

       DATED this 23rd day of June, 2015.


                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge
